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                            United States District Court
                            Eastern District of Arkansas
                                 Eastern Division
Johnny Banks                                                              Plaintiff
v.                              Case No. 4:18-cv-00259-BSM
Shelby Hawkins,                                                        Defendants
in his individual Capacity;
City of Shannon Hills, Arkansas

                  The Plaintiff’s Motion for Summary Judgment

      1. On February 28, 2018, Johnny Banks (“Mr. Banks”) sued Shelby Hawkins

         (“Officer Hawkins”) and the City of Shannon Hills, Arkansas, asserting

         claims of excessive force in violation of the Fourth Amendment; race

         discrimination in violation of the Equal Protection Clause of the

         Fourteenth Amendment; negligent hiring; failure to train; and ratification.

         (Compl., ¶¶ 55-86, Feb. 18, 2018, ECF No. 1). On July 1, 2019, Mr. Banks

         amended his complaint to make it explicit that he is suing Officer Hawkins

         in his individual capacity. (Am. Compl., ¶ 5, July 1, 2019, ECF No. 27).

      2. On February 17, 2017, Officer Hawkins used excessive force when he shot

         Mr. Banks because Mr. Banks had not committed a crime, he was not

         suspected of having committed a crime, he did not pose an immediate

         threat to anyone, and he did not resist or evade Officer Hawkins. Graham v.

         Connor, 490 U.S. 386, 396 (1989) (citing Tennessee v. Garner, 471 U.S. 1, 8-

         9 (1985)).

      3. On February 17, 2017, the law was clearly established that a police officer

         responding to what he thinks is an emergency cannot automatically shoot a
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    person who does not pose an immediate threat to the officer or to others,

    therefore, Officer Hawkins is not entitled to qualified immunity. Thompson

    v. Dill, No. 17-3358, 2019 WL 3294010, at *1-5 (8th Cir. July 23, 2019);

    Ellison v. Lesher, 796 F.3d 910, 913-918 (8th Cir. 2015); Cole v. Hutchins,

    No. 4:17CV00553 JLH, 2019 WL 903844, at *1-4 (E.D. Ark. Feb. 22,

    2019); Frederique v. Cty. of Nassau, 168 F. Supp. 3d 455, 465-473 (E.D.N.Y

    2016); Roccisano v. Twp. of Franklin, No. 11–6558(FLW), 2013 WL 3654101,

    at *1-10 (D.N.J. July 12, 2013); Johnson v. Town of Nantucket, 550 F. Supp.

    2d 179, 180-185 (D. Mass 2008); Pagan v. Twp. of Raritan, No. 04–

    1407(FLW), 2006 WL 2466862, at *1-7 (D.N.J. Aug. 23, 2006).

 4. The City of Shannon Hills is liable for the damages Officer Hawkins

    caused Mr. Banks because had the SHPD done an adequate background

    check, it would have never hired him in the first place. Monell v. Dep’t of

    Soc. Servs. of the City of New York, 436 U.S. 658, 694-695 (1978).

 5. The City of Shannon Hills is liable for the damages Officer Hawkins

    caused Mr. Banks because Chief Spears failed to adequately train Officer

    Hawkins. City of Canton v. Harris, 489 U.S. 378, 390 (1989).

 6. Viewing the record in the light most favorable to the nonmoving party,

    there are no genuine issues of material fact, therefore, Mr. Banks is entitled

    to judgment as a matter of law. Wells Fargo Home Mortg., Inc. v. Lindquist,

    592 F.3d 838, 842 (8th Cir. 2010) (quoting Henning v. Mainstreet Bank, 538

    F.3d 975, 978 (8th Cir. 2008)).



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 7. This motion is accompanied by a supporting brief.

                                 Respectfully submitted,

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